Case 1:22-cv-10904-JSR   Document 187-12   Filed 06/15/23   Page 1 of 8




                         EXHIBIT 11 
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                Case 1:22-cv-10904-JSR                      Document 187-12                 Filed 06/15/23            Page 2 of 8
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    ,znkJpn]kzDHHnrI^k[zn2nOJkGJr[DGsndJrWr[JIz\JInHiJkzykJHJyyDrKosD!(i]gg]nkH\JHdznGJs]~~Jknk^kysDkHJ
    HnipDkMkIy=\JH\JHdDyyJIznGinrJyznHd]k~\JzDdJnJszDr[Jzy7JDk\^gJ^knsIJrznz\snz\J^kyrDkHJsJ[gDznsynP
    z\J!(i^ggankDyrJpnr|JIDyGJ]k[yDKJg^kJyzJI^kDinkJiDrdJzDHHnkz

    >k]zJI0^rJyWsiJrH\^JKUkDkH^DgnTHJr.Dk^Jg:D|nkHnkVriypDs|nK2nQJkGJr[yDHHnkz2JyDy\JsJHDggyiDf]k[nkJnszn
    zJgJp\nkJHDggyzn/pyzJ]kDz2nPJkGJr[ yI^sJHz]nkDGnzz\Ji]yy^k[GnkIy2JyD^I 9\JD\z\Jyz^ggJ]yz-zJWkInzhDzJs
    z\Dz\J\DIyngIz\nyJDyyJzygJJsD[JIz\JiADkICyJIyniJiDr[]kDHHnkzznzDdJyniJpny^z]nky]k/iJsDkI:Dk,iyDy
    :D|nk

    /pyzJ]k yJ}rDnsI]mDrHsJDz]^~DyDHHnsI]k[zn2nQJkGJs[sJypnky^GgJWrz\JprH\DyJGz\J]kysDkHJHnipDk^JynKD&
    GnkI]z\kninkJInk/pyzJ]kHsJDzJID[rJDzyH\JiJznprH\DyJD&zrJDyrGnkIz\DznhIknzGJy\nkADyC
    iDs[^kJInsHnggDzJsDg^JI\JsJp #{JIgzngIz\J[sDkIcs5zgnndJIh]dJ]zDyXJJDkIHgJDtGz]zDHzDggDykz\JyD]I

    /pyzJ]k\DyIJk]JI\JJJs\DIDkIJDg]k[ybz\DknkJXniz\J]kysDkHJHnipDk]Jy-z;]H\DrI,ggJkyDy\JsJHDhgyzDhd]k[zn
    /pyzJ]kDz2nQJkGJs[ yI^rJHz]nkDkIzJgh]k[\]i]zDys[Jkzz\JsJzs]JJz\Ji]yy]k[GnkIyWrDyzDzJJDi^kDz^nk,HHnsI^k[zn,ggJk
    /pyzJ]kyD]I?Jgg[Jzz\JiGDHd2J\DI e]kInKDLg^ppDkzD~|^zIJyDy,ggJk=\JkJJsHDiJGDHd




             pyzJ^kDHHnsI]k[zn2nQJkGJr[DgynHDiJp]z\DyH\JiJzniDk]pgDzJz\Jps^HJnK/iJs0sJ][\zyznHd]kDkD~zJipzzn
               i]k^i]Jz\JgnyyJyz\DznHHssJI\Jk2nQJkGJr[yG]IJkzrnk[DkIz\Jy\DuJps]HJGJ[DkznNgg=\^yDyDggJ[JIzn\DJ
               ]kngJIigz^phJHg]Jkzy DHHnkzyHnkzrnggJIG/pyzJ^k


    /JkzDgh]k!))!^kyrDkHJsJ[gDznry]k4hg]kn^yyJI2nPJkGJr[2JyJzzgJIz\JHDyJDkI/pyzJ]k\nDynkgDpD]IHnkyhzDkzDy
    kJJrIJpnyJInsDHHyJInKDksnk[In]k[-Dss1snyyz\JDz}nrkJ\nDy\DkIg]k[z\Jy^zWrz\JsJ[hDznryyDynK/pyzJ^k2J
    DyJrJgy^J4zDy\DrIznrJDggzsDHd\^iInk=\JrJJrJDyGyzDkz^DgkiGJsnKH\JHdyWsy^[k^K]HDkzInghDryz\DzJrJpD]Izn
    \^i3sJiJiGJr2JDyz\^yH\DrDHzJrJkJJs[nzD\DkIhJnk,[D]kJpsJyiJIz\Dz\JDy]kngJI^z\z\J:Dk,iDkI/iJx
    ljz\Dz2nRJkGJr[iDIJGzJkJJr[nzDH\DkHJznIJpnyJ\]i

    0rniz\J[nJrkiJkzyI]yHnJr]k~\JiD^kyJkzJkH]k[D[D]kyz2nQJkGJs[]zngIyJJiz\J[nJwiJkzDypJs\DpyDG]zgDyDy
    .D]I6J]y\nrJpsJyJkzJI7]zH\Jgg-sDzJr=\JJkzWs\Dzz\JdkJz\JHngI[JzDkIz\DzDyz\JYDIgJkzprni^yyns
    knzJyB]Jz\JiH\gEt[JsDkIksJgDzJIpD_{nK2nOJkGJr[ yXDIGDyJI]k8J@nrd<zDzJC?\Dzz\JHngIkz[Jz~\JI^IkzGn~\Js
    ]z\

    ,knz\rhDJs^kngJI^kz\JHs]i^kDhpsnyJHz^nknK2nOJkGJs[yDy4kDHri]kDg]kJyz][Dz]nkg^dJz\Dz\Jk~\JsJ]yD[^gzpgJDzn
    GJq]HdDkII^r}DGnz]zI^yHnJs]yDgDy^kHnipgJzJ=\JInkz\DJzng^kJpbzkJyyJy*z\JInkz\DJznhJEskJJsKHzz\Dz
    i][\zHniJnznkHsnyyJDi^kDz]nk




             pyzJ^kDy]kngJI^z\2nPJkGJs[]knz\JsqJyz^nkDGgJzsDkyDHz^nky0^kDkH]DgrJHnsIyy\nz\Dz]k!)((/pyzJ]k]kJyzJI
               !'i^gg^nk]k;]IIJgg<pns}y4kHDHnipDkz\DziDkKFHzsJyWnzGDgg\JhiJzy,ink[\^yHn]kJyznryJsJz\Jz\JDzJr
               in[h;nGJs|8JIJsgDkIJsDkID~~nrkJ6JnkDsI=nGnsnP,ynsHJHgnyJzn~\]yzsDkyDHz]nkHgD^iyz\Dz/pyzJ]kzngI
    8JIJsgDkIJsDkI=nGnsnPz\Dz\J\DIsD]yJI\]yy\DrJnKz\JinkJZniD< yyGDkdJr\nyJ]IJkz]zz\JHngIknzGJDggnJIzn
    ekn-z2nSJkGJr[\DyHhD]iJIz\JinkJHDiJLvni\]iDkI=nJryyUkDkH^DhyzDzJiJkzyWrz\DzJDry\nDhnDkzn/pyzJ]knK
    %/pyzJ^k\DyyD]I\JHDkzsJiJiGJsz\JIJzD^gyDkI\DyI]ypzJIz\JDHHrDHnKz\J=nJryUkDkH]DgsJpnrzy


    ,rnkIz\JyDiJz]iJ8JIJrhDkIJrDkI=nGnrnPgJz/pyzJ]kHniJ^k]z\z\JinkDyH\JiJzniDeJinkJnznK:JkkDgzD
    :JkkyhDk]DH\Ji]HDgHnipDk=\JpgDkDyzn[snpzn[J~\Jsbz\znnz\JspD`{]JyznzDeJDyGyzDk~]DgIJHgDsJIpny^nk]kz\JyznHd
    ,HHnsI]k[znDynrHJ/pyzJ]kDyyppnyJIzn\Jgp8JIJshDkIJrDkI=nGnsnPsD]yJ"&i]hh]nk2JyJJiJIznKD]gznVkInz\Js]kJyznsy
    yDz\nyJNi]h]Dsbz\z\JIJDg/pyzJ^k\DyyD]I\JDyiJsJgDk]kJyznr2J]kJyzJI!i^gg]nk\]H\\JzngI\]yHn]kJyznsyDy\]y
    nkinkJ-z^k\^y!)()IJpny]z]nk\JyD^I~\Dz\Jpz^knkg$nK\^ynkinkJ?\JsJI^Iz\JsJyzHniJXni+2nQJkGJr[
    \DyyD^I^zHDiJXni\]i]kDgnDkz\Dz8JIJsgDkIJsDkI=nGnrnPI^IkzeknDGnz


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Case 1:22-cv-10904-JSR   Document 187-12   Filed 06/15/23   Page 3 of 8
Case 1:22-cv-10904-JSR   Document 187-12   Filed 06/15/23   Page 4 of 8
Case 1:22-cv-10904-JSR   Document 187-12   Filed 06/15/23   Page 5 of 8
Case 1:22-cv-10904-JSR   Document 187-12   Filed 06/15/23   Page 6 of 8
Case 1:22-cv-10904-JSR   Document 187-12   Filed 06/15/23   Page 7 of 8
Case 1:22-cv-10904-JSR   Document 187-12   Filed 06/15/23   Page 8 of 8
